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                                  January 21, 2025

Via E-filing
Honorable Leo M. Gordon
US Court of International Trade
(Sitting by designation in the
District of New Jersey)
50 Walnut Street
Newark, NJ 07102

      Re:   State of New Jersey v. U.S. Dep’t of Transp., et al.
            Civil Action No.: 2:23-cv-3885

            Mark Sokolich et al v U.S. Dep’t of Transp., et al.
            Civil Action No.: 2:23-cv-21728


Dear Judge Gordon:

     We submit this reply on behalf of Sokolich plaintiffs. There
are multiple grounds justifying relief from the order staying the
Sokolich action until thirty (30) days following the adjudication
of the State’s action.

     First, while there is substantial overlap between the two
actions, this court previously noted that the Sokolich action seeks
“additional remedies and relief for two separate classes.” ECF
58.

     As amicus, our ability to present arguments outside of the
overlapping issues has been narrowly limited. Moreover, this court
barred any participation in the arguments on January 3, 2025, where
the State sought clarification of the substantive rulings and
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injunctive relief. As amicus, the Sokolich plaintiffs never had
the opportunity to submit arguments based upon immediate and
irreparable harm to the health of the class members, the very
unique relief that was sought in our action.

     Second, the Sokolich plaintiffs are, and will continue to
suffer immediate and irreparable harm as a result of heightened
exposure to the six toxins which the federal studies have confirmed
will all increase as a result of the congestion pricing plan. The
Sokolich plaintiffs have a right to directly argue that an
immediate and irreparable harm has and will occur.

     In   Interfaith    Community    Organization   v    Honeywell
International, Inc. 399 F.3d 248, 261 (3d Cir. 2005), the court
affirmed the District Court’s injunction requiring excavation and
cleanup of chromium causing an imminent and substantial
endangerment to health under the RCRA after finding that Honeywell
was responsible for concentrations far in excess of NJDEP
contamination standards. The Court rejected Honeywell’s argument
that a remedial injunction usurps agency power stating:
“particular types of injunctive relief may not be circumscribed by
arguments as to what an agency might have done. “The
comprehensiveness of [a court’s] equitable jurisdiction is not to
be denied or limited in the absence of a clear and valid
legislative command.”” (citations omitted) Id. at 268. See also
United States v. Tzavah Urban Renewal Corp, 696 F.Supp. 1013
(D.N.J. 1988)(Government established likelihood of irreparable
injury if owners of hotel being renovated and found to contain
asbestos materials were not enjoined to comply with regulations
and that public interest favored injunction since dry asbestos
constitutes a serious health hazard).

      As the Court stated in Env't Democracy Project v. Green
Sage Mgmt., LLC, No. 22-CV-03970-JST, 2022 WL 4596616, at *3
(N.D. Cal. Aug. 23, 2022):

          “Environmental injury, by its nature, can seldom
          be adequately remedied by money damages and is
          often permanent or at least of long duration, i.e.,
          irreparable.” Sierra Club v. United States Forest
          Serv., 843 F.2d 1190, 1195 (9th Cir. 1988)
          (quotation   marks,   citation,   and   alterations
          omitted); see also United States v. Gear Box Z
          Inc., 526 F. Supp. 3d 522, 528 (D. Ariz. 2021)
          (“[T]he irreparable harm at issue here is obvious.
          Emissions of harmful pollutants damage human
          health and the environment.”).Here, the record
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          demonstrates that the generators are being used
          without valid permits and the “[d]iesel generator
          exhaust fumes pose a grave risk to the health and
          safety of residents and employees.” ECF No. 8-3 at
          1-5. This is sufficient to establish a risk of
          irreparable physical and procedural harm. See Save
          Our Summers v. Wash. State Dep't of Ecology, 132
          F. Supp. 2d 896, 905 (E.D. Wash. 1999) (“The risk
          of physical injury from continued [wheat stubble]
          burning is sufficient to establish a risk of
          irreparable harm.”); Save Strawberry Canyon v.
          Dep't of Energy, 613 F. Supp. 2d 1177, 1189 (N.D.
          Cal. 2009) (“The procedural injury is also
          irreparable—even if a NEPA review might later be
          conducted, implementing regulations specify when
          NEPA review must be conducted and limit the
          agency's ability to proceed with major federal
          actions absent the proper procedures beyond
          specified stages[.]”).

     See also, Heather K. v. City of Mallard, 887 F.Supp. 1249,
1260 (N.D.Iowa 1995) (finding irreparable injury when “[c]ontinued
open burning poses a very real health threat, possibly even a
mortal threat, to Heather K.”); St. Bernard Citizens for
Environmental Quality, Inc. v Chalmette Refining, LLC,         354
F.Supp.2d 697, (ED LA      2005) (court grants summary judgment
awarding injunction in favor of citizens environmental group
against refinery for Clean Air Act violations where refinery
repeatedly violated emission limits for harmful pollutants
endangering the health and quality of life of those living near
the refinery.)

     With no participation in the January 3, 2025 arguments, and
subsequent emergent appeal, we were not permitted to submit these
arguments that directly bear on the unique relief sought in our
action. This bar was a clear violation of our basic due process
rights on issues that were particular to our action. ‘The
fundamental requisite of due process of law is the opportunity to
be heard.’ Grannis v. Ordean, 234 U.S. 385, 394, 34 S.Ct. 779,
783, 58 L.Ed. 1363 (1914). The hearing must be ‘at a meaningful
time and in a meaningful manner.’ Armstrong v. Manzo, 380 U.S.
545, 552, 85 S.Ct. 1187, 1191, 14 L.Ed.2d 62 (1965)

     Third, the Sokolich plaintiffs differ from the State insofar
as the State has elected to dismiss the appeal and thus the issue
of injunctive relief will not be submitted to the full panel. We
intend to do so and we intend to seek leave to the United States
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Supreme Court in the event that injunctive relief is not granted
in the Third Circuit Court of Appeals. Indeed, we can find no
authority where an environmental review has been deemed flawed
based upon a violation of 40 C.F.R. §1501.6(c ) and the court did
not enjoin implementation of the particular plan.

     Finally, we intend to seek the cessation of the ongoing
increase in pollution and its immediate and irreparable harm on
class members health. Pulmonary disease is not simply a monetary
issue and cannot be cured with the allocation of mitigation dollars
by the federal government. The court’s finding that the relief
sought by the State is monetary in nature hardly applies to the
Geller subclass who have pre-existing pulmonary disease and will
suffer irreparable harm with each breath they take inhaling
dangerous toxins as a result of the congestion pricing plan.




                                  Respectfully,

                                  Bruce H. Nagel
                                  BRUCE H. NAGEL

BHN/ls

cc:   All counsel of record (via ECF)
